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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                   Plaintiff,                   )            8:08CR87
                                                )
      vs.                                       )             ORDER
                                                )
CORLEONE MONSHAE MC CURRY,                      )
                                                )
                   Defendant.                   )



      This matter is before the court on the defendant’s motion to review detention and
request for an evidentiary hearing (Filing No. 33). Upon consideration, the motion is
denied.


      IT IS SO ORDERED.


      DATED this 9th day of May, 2008.
                                                BY THE COURT:
                                                s/ Thomas D. Thalken

                                                United States Magistrate Judge
